     Case 2:21-cr-00006-Z-BR Document 9 Filed 01/27/21                  Page 1 of 3 PageID 23


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

UNITED STATES OF AMERICA

V.                                                   NO. 2:21-CR-6-Z
STEVEN ANTHONY REINHART


                    JOINT MOTION TO CONDUCT GUILTY PLEA
                          VIA VIDEO TELECONFERENCE

        Defendant, Steven Anthony Reinhart, by and through counsel, asks the Court to

conduct his initial appearance and rearraignment (guilty plea) via video teleconference.

The government joins in this motion. In support thereof, the parties state as follows:

1.      Due to the Novel Coronavirus Disease (COVID-19) and pursuant to Special

Orders 13-5, 13-6, 13-7, 13-8, 13-9, and 13-11, regarding Court Operations Under the

Exigent Circumstances Created by COVID-19 Pandemic, court proceedings in the

Northern District of Texas have been continued to protect the health and safety of the

public, defendants, and court personnel. Special Order 13-9 references the Coronavirus

Aid, Relief and Economic Security Act (CARES Act) and the findings of the Judicial

Conference of the United States, and it authorizes the use of video teleconferencing for

several types of hearings, including rearraignments (guilty pleas).

2.      The parties agree that delaying the guilty plea in this matter would seriously harm

the interests of justice for several reasons. First, awaiting a date to complete this portion

of the criminal process is only adding stress to the defendant. The defendant has signed a

written plea agreement, that plea agreement has been filed, and the defendant is ready to


Joint Motion to Conduct Guilty Plea via Video Teleconference - Page 1
     Case 2:21-cr-00006-Z-BR Document 9 Filed 01/27/21                  Page 2 of 3 PageID 24


complete his guilty plea so that the defendant can focus on sentencing. Second, the

defendant would prefer to expedite the criminal process so the defendant can be

transferred to a Bureau of Prisons facility, which will likely offer better educational and

rehabilitative opportunities for the defendant. Third, the United States has an interest in

proceeding with the guilty plea in this case so it can turn its attention to other pending

criminal matters. Fourth, an indefinite delay in the guilty plea could undermine the

public's confidence in the judicial system and its ability to function during this crisis.

3.      The parties do not anticipate any issues at the guilty plea. As noted, the parties

have filed a written plea agreement in this case that sets out in great detail the parties'

agreement. The parties are only asking the Court to ratify that agreement by

recommending that it be accepted by the district court.

4.      Defendant has the right (1) to be physically present at the guilty plea; (2) address

the Court in person; (3) for more fulsome public access to the guilty plea; and (4) to

consult privately with counsel during the guilty plea. Defendant has discussed these

rights with defense counsel. Defendant understands that Defendant will be in a different

physical location than the presiding judge and counsel, and that proceeding with a guilty

plea via video teleconference may impact these rights. Nonetheless, after consulting with

counsel, Defendant has determined that is in Defendant's best interest to proceed with a

guilty plea now, using video teleconference, rather than waiting for an in-person court

appearance later.

5.      After conferring with counsel, and pursuant to Section 15002 of the CARES Act,

Defendant consents to proceeding with the hearing via video teleconference.

Joint Motion to Conduct Guilty Plea via Video Teleconference - Page 2
     Case 2:21-cr-00006-Z-BR Document 9 Filed 01/27/21                  Page 3 of 3 PageID 25


6.      The parties therefore jointly request that the Court conduct Defendant's guilty plea

via a video teleconference. They further ask that the Court explicitly make findings,

pursuant to Section 15002 of the CARES Act, that for "specific reasons ... [the]

rearraignment (guilty plea) ... cannot be further delayed without serious harm to the

interests of justice."

                                                Respectfully submitted,

Isl Frank Sellers                               Isl Joshua Frausto
FRANK SELLERS                                   JOSHUA FRAUSTO
Attorney for Defendant                          Assistant United States Attorney
                                                Attorney-in-Charge
                                                Texas Bar No. 24074228
                                                500 South Taylor Street, Suite 300
                                                Amarillo, Texas 79101
                                                Tel: 806-324-2356
                                                Fax: 806-324-2399



Steven Anthony Reinhart
Defendant




Joint Motion to Conduct Guilty Plea via Video Teleconference - Page 3
